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MINUTE ENTRY
NORTH, M.J.
JULY 13, 2020

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                              CIVIL ACTION

VERSUS                                                             NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                           SECTION: “I”(5)


       A telephone conference was conducted on July 10 in the presence of a Court

Reporter (Alexis Vice), for the purpose of discussing a briefing schedule on the City’s

motion for relief Court Orders of January 25, 2019 and March 18, 2019. (Rec. doc. 1281).

       PARTICIPATING:        Elizabeth Cumming      Blake Arcuri         Emily Washington
                             Sunni LeBeouf          Patrick Follette     George Eppsteiner
                             Rick Stanley           Kerry Deane          David Sinkman
                             Ted Carter             Inemesit O’Boyle     Bryan Reuter


       Now before the Court is the motion for additional time to file a response to the City’s

motion for relief, filed by the Plaintiff Class and the Department of Justice. (Rec. doc. 1286).

The motion is opposed by the City, which asks the Court to either deny the motion outright

or to allow it to suspend ongoing design work on the new “Phase III” special populations

facility that is subject of its underlying motion. (Rec. doc. 1289).

       Upon review of the pleadings and given the nature of the relief sought by the City,

the Court finds that a 14-day extension of time for the Plaintiff Class and Department of

Justice to respond to the City’s motion is appropriate. And because the question whether

ongoing design work on Phase III should be suspended is at the very heart of the City’s
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motion, the Court will not grant that relief before response memoranda are filed by the

other parties, who each have a right to be heard on that question.

       Accordingly, the motion for additional time is granted.        Any party wishing to

respond to the City’s motion shall do so no later than July 28, 2020. Additionally, no later

than July 31, 2020, the parties shall, after conferring on the matter, submit to the Court a

joint proposed witness list for an evidentiary hearing that will be held on the City’s motion.

The parties’ proposed witness list should include a brief description of each witness’s

expected testimony. A date for an evidentiary hearing will be set once the Court has

received and reviewed the parties’ joint proposed witness list.




                                                         MICHAEL B. NORTH
                                                    UNITED STATES MAGISTRATE JUDGE




MJSTAR (00:30)




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